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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

    UNITED STATES OF AMERICA

    vs.                                             CASE NO. 3:20-cr-86-TJC-JBT

    CHRISTIAN FLETCHER


                                       ORDER

          This case is before the Court on Defendant Christian Fletcher's

    Objections to Magistrate Judge's Order Granting in Part Non-Party Private

    Insurers' Motions to Quash (Doc. 377), filed on July 21, 2021. Non-parties

    United Healthcare, Inc., Anthem Entities, and Florida Blue filed a joint

    response. (Doc. 384). Mr. Fletcher objects to the assigned United States

    Magistrate Judge’s Order (Doc. 371) partially granting the non-party insurers’

    motions (Docs. 317, 318, 333) to limit the scope of Defendants’ subpoenas.

          Federal Rule of Criminal Procedure 59(a) allows a district judge to refer

    to a magistrate judge “any matter that does not dispose of a charge or defense.”

    When a party objects to the decision of a magistrate judge, “[t]he district judge

    must consider timely objections and modify or set aside any part of the order

    that is contrary to law or clearly erroneous.” Fed. R. Crim. P. 59(a); see also 28

    U.S.C. § 636(b)(1)(A). Upon review, the Court determines that the Magistrate

    Judge’s decision was neither contrary to law nor clearly erroneous. Thus, Mr.
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    Fletcher’s objections (Doc. 377) are OVERRULED. The Order of the Magistrate

    Judge (Doc. 371) is affirmed.

          DONE AND ORDERED in Jacksonville, Florida this 17th day of

    August, 2021.




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    Copies:

    Honorable Joel B. Toomey
    United States Magistrate Judge

    Counsel of record
    Defendant




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